Case 1:16-cv-00675-I\/|EI\/| Document 53 Filed 09/26/18 Page 1 of 4

IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE I)ISTRICT OF PENNSYLVANIA

IVAN WHITE,
Plaintiff, Civil Action No. l:lG-CV~O675
v. ' (Judge l\/larmiori)

DARRELL WIREMAN, et al., (l\/fagistrate Judge Carlson)
Defendants z l

MOTION FOR LEAVE 'I`O DEPOSE PLAINTIFF

AND NOW, come the DOC Defendants, by and through counsel, and
hereby respectfully request leave to depose the Plaintift` pursuant to
Fed.R.Civ.Proc. 30(a)(2)(B) and further state as folloWs:

l. Plaintiff is an inmate at SCl-Huntingdon.

2. rPlaintiff initiated this civil rights action through counsel on April 22,
2016.

3. DOC Defendants filed their answer With affirmative defenses on Aprii
3, 2018.

4. Fact discovery is currently scheduled to close November 5, 2018.

5. f Defendants Would like to depose Plaintiff to properly investigate his
claims and to prepare their defenses

6. Pursuant to Fed.R.Civ.Proc. 30(a)(2)(B), a party must obtain leave of

court if the person to be examined is confined in prison.

Case 1:16-.cv-00675-I\/|EI\/| Document 53 Filed_09/26/18 PageZof4

WHEREFORE, DOC Defendants respectfully request that the Coui't grant

leave to depose Plaintiff.

Dated: September 26, 2018

Respectfully submitted,

/s/ Vincent R. l\/lazesl_<i
Vincent R. l\/Iazeski
Assistant Counsel

Attorney I.D. No. PA73795
Pennsylvania Department of Corrections
Oftice of Chiet` Counsel
1920 Technology Parl<vvay
l\/lechanicsburg, PA 17050
(717) 728-7763

Fax No.: (717) 728-0312
Ernail: vrnazeski@pa.gov

 

Case 1:16-cv-00675-I\/|EI\/| Document 53 Filed 09/26/18 Page 3 of 4

IN THE UNITED STATES DISTRICT C_OURT
FOR THE l\/IIDDLE DISTRICT OF PENNSYLVANIA

IVAN WHITE,
Plairitift`, Civil Action No. 1:16-CV-06'75
v. (Judge l\/lannion)

DARRELL WIREMAN, er'al., (]_\/Iagistrate Judge Car]_son)
Defendants c

CERTIFICATE OF NONCONCURRENCE

The undersigned, Vincent R. Mazesl<i, counsel for DOC Defendants, hereby
certifies that Counsel for Plaintiff does not concur With this motion due to her

issues With legal mail and visitation

Respectfully submitted,

By: /s/ Viricent R. l\/lazesl<i
Vincent R. Mazeski
Assistant Counsel
Attorney I.D. No. PA73795
Penrisylvania Department of Corrections
Oftice of Chief Counsel
1920 Technology Parkway
Mechanicsburg, PA 17050
(717) 728~7763

'Fax No.: (717) 728-0307
Email: vmazeski@pa. gov
Dated: September 26, 2018

Case 1:16-cv-00575-I\/|EI\/| Document 53 Filed 09/26/18 Page 4 of 4

IN THE UNITED STATES DISTRICT COURT
FOR TI~IE MII)I)LE DISTRICT OF PENNSYLVANIA

IVAN WHITE,
Plaintiff, 7 Civil Action No. l:lé-CV-0675
v. ` (Judge Mannion)

DARRELL WIREMAN, et al., (Magistrate Jndge Carlson)
Defendants .

CERTIFICATE OF SERVICE
l hereby certify that the Within Motion has been filed electronically and is
available for viewing and downloading from the ECF system by i\/Iarianne Sawicki

counsel for Plaintiff and therefore satisfies the service requirements under
Fed.R.Civ.P. S(b)(.?)(E),' L.R. 5.7.

/s/ Vincent R. Mazeski

Vincent R. Mazesl<i

As_sistant Counsel

Attorney l.D. No. PA73 795
Pennsylvania Department of Corrections
Office of Chief Counsel

1920 Technology Parkway
Mechanicsburg, PA 17050

(717) 728-7763

Dated: September 26, 2018

